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                                 UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA

                                             CIVIL MINUTES
Date: January 26, 2024            Time: 9:30 a.m. to 11:14 a.m.    Judge: YVONNE GONZALEZ ROGERS
                                  1 hour 44 minutes

Case No.: 22-md-03047-YGR         Case Name: In Re: Social Media Adolescent Addiction/Personal Injury
                                  Products Liability Litigation

   Attorney for Plaintiff: Jennie Lee Anderson (Liaison Counsel)
   Attorney for Defendant: Ashley Simonsen (Liaison Counsel)
   List of Additional Appearances Attached.

   Deputy Clerk: Edwin A. Cuenco                          Reported by: Stephen Franklin, via Zoom

                                              PROCEEDINGS

   Further Case Management Conference - HELD.

   The Court heard argument on, among others, defendants’ motion for certification of interlocutory
   appeal and parties’ letter briefs regarding early resolution of the general causation issue. The motion
   for certification of interlocutory appeal was taken under submission. The request for early
   resolution of the general causation issue was DENIED for the reasons articulated on the record.

   The Court also heard argument on several pending stipulations, including with respect to sealing;
   bellwether protocols; and other requests. The Court issued rulings relative to some but not all of
   these issues.

   To assist the Court in setting pretrial/trial deadlines, parties are ORDERED to file proposed trial
   schedules with the Court by no later than Friday, February 2, 2024. The Court SETS a hearing on
   February 6, 2024 at 9:00 a.m. to address parties’ proposals.

   The next Further Case Management Conference in the above-captioned matter was previously
   scheduled for February 23, 2024. The Court now ADVANCES that conference from 2:30 p.m. to
   9:30 a.m.

   Written order to issue.
